Case 1:17-cr-00114-MJT-ZJH           Document 110         Filed 02/04/18     Page 1 of 2 PageID #:
                                             284




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §      CASE NO. 1:17CR114-3
                                                  §
 JAKORIAN JAMAAL SANDERSON                        §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Doc. #97]. The magistrate judge recommended that the

 Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

 recommended that the Court finally adjudge the defendant as guilty on Count One of the charging

 Indictment filed against the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea [Doc. #97] of the United States Magistrate

 Judge are ADOPTED. The Court accepts the defendant’s plea, but defers acceptance of the plea

 agreement and plea agreement addendum until after review of the presentence report. The Court

 further ORDERS the defendant’s attorney to read and discuss the presentence report with the

 defendant, and file any necessary objections to the report before the date of the sentencing hearing.




                                                 -1-
Case 1:17-cr-00114-MJT-ZJH         Document 110       Filed 02/04/18     Page 2 of 2 PageID #:
                                           285



        It is further ORDERED that, in accordance with the defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Jakorian Jamaal Sanderson, is

 adjudged as guilty on Count One of the Indictment charging violations of 18 U.S.C. § 1951.


        So Ordered and Signed
        Feb 4, 2018




                                              -2-
